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 9                       UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11
     FRANCESCA GREGORINI,                      Case No. 2:20-cv-00406-SSS-JC
12
                            Plaintiff,         DEFENDANTS’ NOTICE OF
13                                             MOTION AND MOTION TO
           vs.                                 EXCLUDE EXPERT REPORTS
14                                             AND TESTIMONY OF DOMINIC
   APPLE INC., a California corporation;       PERSECHINI
15 M. NIGHT SHYAMALAN, an
   individual, BLINDING EDGE                   [REDACTED VERSION OF
16 PICTURES, INC., a Pennsylvania              DOCUMENT PROPOSED TO BE
   corporation; UNCLE GEORGE                   FILED UNDER SEAL]
17 PRODUCTIONS, a Pennsylvania
   corporate; ESCAPE ARTISTS LLC, a            Date:     August 23, 2024
18 California limited liability company;       Time:     2:00 p.m.
   DOLPHIN BLACK PRODUCTIONS, a                Dept.:    Courtroom 2
19 California corporation; TONY
   BASGALLOP, an individual; ASHWIN
20 RAJAN, an individual; JASON
   BLUMENTHAL, an individual; TODD
21 BLACK, an individual; STEVE TISCH,
   an individual; and DOES 1-10, inclusive,
22
                          Defendants.
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     MOTION TO EXCLUDE REPORTS AND TESTIMONY OF DOMINIC PERSECHINI
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 1         PLEASE TAKE NOTICE that on August 23, 2024, at 2:00 p.m. or as soon
 2 as may be heard in Courtroom 2 of the United States District Court for the Central
 3 District of California, 3470 Twelfth Street, Riverside, California 92501, defendants
 4 Blinding Edge Pictures, Inc., Uncle George Productions, LLC, Apple Inc., Escape
 5 Artists, Inc. (erroneously sued as Escape Artists LLC), Dolphin Black Productions,
 6 M. Night Shyamalan, Tony Basgallop, Ashwin Rajan, Jason Blumenthal, Todd
 7 Black, and Steve Tisch (collectively, “Defendants”) will and hereby move for an
 8 order excluding the expert reports and testimony of Dominic Persechini.
 9         This motion is made on the grounds that Persechini’s reports and testimony
10 fail to meet the standards set forth in Rule 702 of the Federal Rules of Evidence.
11 First, Persechini’s expert reports and testimony regarding causal nexus, to the
12 extent proffered, are unreliable and unhelpful because Persechini himself admitted
13 he lacks any specialized knowledge or methodology to assess causal nexus.
14 Second, Persechini’s reports and testimony regarding the attributability of
15 Defendants’ profits to the alleged infringement are unreliable and unhelpful because
16 he fails to consider the requirement that claimed profits be attributable to the
17 alleged infringement. Third, Persechini’s reports and testimony regarding Apple’s
18 deductible costs, and therefore Apple’s profits, are unreliable and unhelpful because
19 he adopts inconsistent methodologies to account for revenues and costs without any
20 justification.
21         The Motion is based on this Notice of Motion, the accompanying
22 Memorandum of Points and Authorities and Proposed Order, the Declaration of
23 Cydney Swofford Freeman, the pleadings and papers on file in this action, the
24 matters of which this Court may take judicial notice, and such additional matters
25 and oral argument as may be offered in support of the Motion.
26         This Motion is made following the Local Rule 7-3 conference of counsel,
27 which took place on July 10 and July 19, 2024.
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 1 DATED: July 26, 2024                    DAVIS WRIGHT TREMAINE LLP
                                           NICOLAS A. JAMPOL
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 4                                         By:     /s/ Cydney Swofford Freeman
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                                                Attorneys for Defendants
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2                                       INTRODUCTION
 3         Defendants move to exclude the unsupported and unreliable opinions of
 4 Plaintiff Francesca Gregorini’s financial expert Dominic Persechini, who parrots
 5 Plaintiff, her counsel, and other experts instead of relying on his own methodology
 6 and analysis. For example, despite testifying again and again he was not opining on
 7 Plaintiff’s arguments regarding causal nexus—i.e., that she was entitled to profits
 8 from all forty episodes of Defendants’ television series Servant despite claiming
 9 infringement in only three episodes—Persechini seemingly changed his mind upon
10 questioning by Plaintiff’s counsel. Although he previously acknowledged he had
11 no qualifications or methodology to assess causal nexus, he nonetheless testified
12 that a causal nexus existed between profits generated by Episodes 4-40 and the
13 alleged infringement in Episodes 1-3 without any sort of analysis or methodology.
14         Persechini also repeats Plaintiff’s contentions that all profits generated by
15 Episodes 1-3 are recoverable even though he acknowledged that the Copyright Act
16 allows only for those profits that are attributable to the alleged infringement.
17 Persechini did not attempt to separate out non-infringing and allegedly infringing
18 elements in Servant, though he testified about how it could be done. Persechini
19 could not explain why he failed to employ the methodology he outlined. Instead, he
20 concluded that all profits were attributable to the infringement only because it
21 would be difficult to “get through that spaghetti bowl.” Declaration of Cydney
22 Swofford Freeman (“Freeman Decl.”) Ex. 1 (“Persechini Dep.”) at 112:5-13. This
23 is especially problematic here where there are numerous elements that Plaintiff
24 cannot claim are infringing, such as those written by Tony Basgallop prior to
25 Plaintiff’s film The Truth About Emanuel (“Emanuel”) and those in the underlying
26 story on which Emanuel is based that belong to third-party Sarah Thorp. See ECF
27 No. 180-1 (“SUF”) ¶ 217.
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 3                                                                             Had he used
 4 the same methodology for revenues and costs, it would significantly reduce the
 5 potential profits that Plaintiff estimates she can recover in this case. This
 6 inconsistent and selective application of Persechini’s methodology serves Plaintiff’s
 7 interests but has no reliable basis.
 8         These errors render Persechini’s opinions unreliable, unhelpful, and
 9 inadmissible under Federal Rule of Evidence 702. Defendants request that this
10 Court exclude him as an expert.
11                                        LEGAL STANDARD
12         District courts are the gatekeepers of expert testimony. Daubert v. Merrell
13 Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). Indeed, the Rules of Evidence
14 “assign to the trial judge the task of insuring that an expert’s testimony both rests on
15 a reliable foundation and is relevant to the task at hand.” Id. at 597. It is Plaintiff’s
16 burden to establish by a preponderance of the evidence that Persechini’s testimony
17 is admissible under Rule 702 (see id. at 592 n.10), which requires among other
18 things that he have specialized knowledge that will help the trier of fact and that the
19 testimony be based on sufficient facts and reflect a reliable application of sound
20 principles to the case. Fed. R. Evid. 702.
21         Expert testimony is “reliable if the knowledge underlying it has a reliable
22 basis in the knowledge and experience of the relevant discipline.” Primiano v.
23 Cook, 598 F.3d 558, 565 (9th Cir. 2010) (citation omitted). The test for reliability
24 focuses on “the soundness of [the expert’s] methodology.” Daubert v. Merrell Dow
25 Pharms., Inc., 43 F.3d 1311, 1318 (9th Cir. 1995). Courts, including the Supreme
26 Court, have emphasized that faulty or deficient methodology is grounds for
27 excluding an expert. See Boyd v. City & Cty. of S.F., 576 F.3d 938, 946 (9th Cir.
28 2009) (if a purported expert fails to “employ[] in the courtroom the same level of

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 1 intellectual rigor that characterizes the practice of an expert in the relevant field,”
 2 her testimony must be excluded) (quoting Kumho Tire Co. v. Carmichael, 526 U.S.
 3 137, 152 (1999)). Similarly, where testimony is based on faulty assumptions or bad
 4 facts—or where the expert herself is not qualified to opine on the subject matter at
 5 issue—that testimony has no “valid connection to the pertinent inquiry,” and should
 6 be stricken as unhelpful. Primiano, 598 F.3d at 565 (citation omitted).
 7                                          ARGUMENT
 8   A.     Persechini’s Opinion on Causal Nexus, to the Extent Proffered, Is
 9          Unreliable and Unhelpful
10         As with Plaintiff’s other experts, Persechini proffers speculative opinions on
11 profits from Episodes 4-40 that Plaintiff might recover based on a purported causal
12 nexus theory, though he lacks any expertise on that topic. A copyright plaintiff
13 seeking to recover indirect profits generated by non-infringing works may do so
14 only upon establishing a “causal nexus” between the indirect profits and the alleged
15 infringement. Polar Bear Prods. v. Timex, 384 F.3d 700, 711 (9th Cir. Sept. 3,
16 2004), as amended on denial of reh’g and reh’g en banc (Oct. 25, 2004). Courts
17 routinely reject causal nexus theories “in the absence of concrete evidence” tying
18 the profitability of a non-infringing work to purported copyright infringement—
19 particularly where, as here, “many factors” may have contributed to the purported
20 profits at issue. Rearden LLC v. Walt Disney Co., 2022 WL 2064976, at *2 (N.D.
21 Cal. June 8, 2022) (quoting Mackie v. Rieser, 296 F.3d 909, 916 (9th Cir. 2002));
22 see also Polar Bear, 384 F.3d at 711 (quoting 5 Nimmer on Copyright § 14.03)
23 (“When an infringer’s profits are only remotely and speculatively attributable to
24 infringement, courts will deny recovery to the copyright owner.”).
25         Persechini repeatedly testified that he was not opining on causal nexus and
26 admitted that he would have no reliable method for assessing causal nexus. And
27 yet, in a reversal at the very end of his deposition, in response to questions from
28 Plaintiff’s counsel, he offered an unsupported and speculative opinion on the issue.

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  1 Persechini’s testimony regarding causal nexus does not come close to satisfying
  2 Rule 702 because it is both unreliable and unhelpful and should therefore be
  3 excluded.
  4               1.     Persechini Testified He Was Not Opining on Causal Nexus
  5         Because Persechini is not proffering any expert opinion establishing a causal
  6 nexus between any profits stemming from Episodes 4-40 and the alleged
  7 infringement in Episodes 1-3, Plaintiff cannot rely on any of his purported opinions
  8 on causal nexus. In his own words: “I’m not proffering a causal nexus opinion as
  9 part of my expert work.” Persechini Dep. at 70:5-7; see also id. at 69:6-9 (“Q. But
10 you’re not offering an expert opinion on whether there is a causal nexus in this
11 case? A. That is correct. I’m not proffering that opinion.”); 68:10-12 (“Q. Are you
12 providing any expert opinion on that issue [causal nexus]? A. I am not.”).
13          Instead, Persechini testified he was treating the existence of a causal nexus as
14 an “input” in connection with his opinion regarding the alleged profits generated by
15 Servant Episodes 4-40. See, e.g., Persechini Dep. at 68:19-69:1 (“Q. Just so I’m
16 clear … you are assuming there is a causal nexus and opining on what the damages
17 would be in that case? A. I have not been asked to proffer a causal nexus opinion.
18 That is … an input to me.”); 69:13-17 (“Q. So you’re not purporting to understand
19 the contours of causal nexus? … A. That’s correct. That’s an input to me.”); 69:22-
20 70:7 (“The financial analysis I did, yes, assumes that there is a nexus between
21 Episodes 1, 2, and 3 and the remainder of Servant”).
22          Because Persechini expressly and repeatedly confirmed that he was not
23 offering an opinion on whether there is a causal nexus, Plaintiff should be precluded
24 from relying on his reports, opinions, or testimony for that purpose.
25                2.     Persechini Admitted He Was Not Qualified to Opine on
26                       Causal Nexus
27          Even if Persechini did opine on causal nexus—which he expressly said he did
28 not—his own testimony confirms he is unqualified to do so. Rule 702 requires that

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  1 the person testifying must be “qualified as an expert by knowledge, skill,
  2 experience, training, or education” in the relevant field. Fed. R. Evid. 702. General
  3 qualifications in some areas are insufficient; experts must be qualified as to the
  4 specific “issues on which [the expert] opine[s].” Pyramid Techs., Inc. v. Hartford
  5 Cas. Ins. Co., 752 F.3d 807, 814 (9th Cir. 2014). Otherwise, the expert lacks
  6 “specialized knowledge” that would “help the trier of fact to understand the
  7 evidence or to determine a fact in issue.” Fed. R. Evid. 702(a); see also Rutherford
  8 v. Palo Verde Health Care Dist., 2015 WL 12864245, at *2 (C.D. Cal. Apr. 17,
  9 2015) (expert witness excluded as to proffered opinions where he did not claim any
10 special expertise in issue at hand). Here, Persechini’s own testimony establishes
11 that he is not qualified as an expert to conduct a causal nexus analysis.
12          First, Persechini confirmed he only has a “layman’s understanding” of causal
13 nexus, Persechini Dep. at 65:6-12, and that Plaintiff’s attorneys told him there is a
14 causal nexus “if the infringement at least partially caused the profits that the
15 infringer generated” from non-infringing works. Id. at 63:16-64:6, 65:15-21; see
16 also Freeman Decl. Ex. 2 (“Persechini Rpt.”) ¶ 53; Freeman Decl. Ex. 3
17 (“Persechini Rebuttal Rpt.”) ¶ 58. He testified that he relied on Plaintiff’s counsel’s
18 “but for” formulation; he did not do any independent verification or analysis
19 regarding the appropriate standard for causal nexus. Persechini Dep. at 63:16-64:6,
20 72:13-73:11. Defendants are not aware of any precedent in the Ninth Circuit—and
21 Plaintiff to date has cited none—supporting the so-called “but for” standard for
22 recovering indirect profits. On the contrary, courts have rejected this “but for” logic
23 in the indirect profits context relating to films. See Hendricks v. Dreamworks, LLC,
24 2007 WL 9705916, at *1-3, 5 (C.D. Cal. Nov. 20, 2007) (plaintiff not entitled to
25 indirect profits generated from non-infringing, subsequently written screenplay
26 drafts and movie that would not exist but for allegedly infringing screenplay).
27 Persechini’s reliance on an incorrect legal principle as an assumption underlying his
28 purported opinions renders them unreliable.

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  1         Second, Persechini specifically acknowledged he would not be equipped to
  2 assess causal nexus in this case. Other than the “but for” test formulated by
  3 counsel, he testified that he is “not aware of a methodology” related to causal nexus
  4 in copyright cases. Persechini Dep. at 71:21-73:11. This may because he has never
  5 previously performed a causal nexus analysis in an intellectual property case. Id. at
  6 67:1-10, 71:21-72:18. In fact, he assessed causal nexus only once—in a breach of
  7 contract case—and specifically testified the methodology used in that case “would
  8 not be applicable” here as it was a “very different beast.” Id. at 66:3-25. He has
  9 done no research or literature review on a reliable causal nexus methodology for
10 this case. Id. at 73:8-11. He also has no expertise in assessing profits or sources of
11 revenue generated in connection with a particular film or television series as part of
12 a causal nexus analysis, nor did he independently analyze in this case the factors
13 that led to any profits generated by any particular episode of Servant. Persechini
14 Dep. at 66:3-25, 67:1-10, 71:21-72:18, 95:7-13. He simply took the causal nexus
15 issue as a given, which makes him no different than a lay witness.
16          In short, even if Persechini were opining on causal nexus, by his own
17 admission he is a lay witness on that issue and cannot be qualified as an expert.
18                3.    Persechini’s Causal Nexus Opinion Lacks Any Methodology
19          At the end of his deposition, on examination from Plaintiff’s counsel,
20 Persechini suggested for the first time that he was proffering an opinion on causal
21 nexus, contradicting hours of testimony immediately prior. Persechini Dep. at
22 175:10-23. Though not reflected in his Reports, Persechini belatedly testified that
23 his analysis apparently consisted of “looking at profits from Episodes 1, 2, and 3”
24 and “profits from Episodes 4 through 10 of Season 1, as well as Seasons 2, 3 and
25 4,” and that it “sort of follows logically, that you couldn’t have profits from the
26 follow-on episodes, if you didn’t have the profits from the initial episodes.” Id. at
27 175:13-21; see also 180:13-181:3 (similar). Even if Servant Episodes 1-3 generated
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  1 profits, however, that does not necessarily mean that profits generated by Episodes
  2 4-40 were caused by the alleged infringement in Episodes 1-3.1
  3         In particular, Persechini failed to conduct any sort of financial analysis or
  4 assessment of the sources or reasons for any profits generated by Episodes 4-40.
  5 He did not analyze how the allegedly infringing elements in Episodes 1-3 drove any
  6 profits of other episodes, nor did he evaluate how any profits generated from
  7 Episodes 4-40 bear any connection to the alleged infringement. Polar Bear, 384
  8 F.3d at 711. Nor has he ever opined on what factors make a multi-season television
  9 series profitable, or how profits can and should be allocated. Persechini Dep. at
10 95:7-10. He also failed to assess what factors within Episodes 1-3 may have driven
11 profits in other seasons, given that numerous elements in those episodes were
12 written before Emanuel or do not belong to Plaintiff. He did none of that and,
13 instead, simply “assume[d] that there is a nexus between Episodes 1, 2, and 3 and
14 the remainder of Servant.” Id. at 69:22-70:7. This opinion is unreliable and
15 unhelpful and is inadmissible under Rule 702.
16    B.        Persechini’s Opinion That All Profits Are Attributable to the Alleged
17              Infringement Is Unsupported and Unreliable
18          Persechini’s unfounded assumption that 100% of profits from Episodes 1-3
19 are attributable to the alleged infringement also renders his opinion unreliable.
20 Copyright law permits a plaintiff’s recovery of “any profits of the infringer that are
21 attributable to the infringement.” 17 U.S.C. § 504(b) (emphasis added). In
22 establishing profits, the copyright plaintiff is required to “present proof” of the
23 infringer’s gross revenue, and the alleged infringer is then “required to prove his or
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25          1
           Persechini also testified that a causal nexus existed because Episodes 4-40
26 sequentially followed Episodes 1-3, Persechini Dep. at 181:4-5, but that says
   nothing about the cause of certain profits, nor is it helpful to the trier of fact. He
27 also did not watch or assess any episodes of Servant and, thus, also cannot reliably
28 speak to any connection between specific elements in Episodes 1-3 and any profits
   generated by Episodes 4-40.

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  1 her deductible expenses and the elements of profit attributable to factors other than
  2 the copyrighted work.” Id. Persechini opined that all profits generated by Servant
  3 Episodes 1-3 are attributable to the alleged infringement and, even if they were not,
  4 the non-infringing elements are “inextricably tied to the creation of episodes that
  5 infringe a copyright,” thus entitling Plaintiff to all profits. Persechini Rebuttal Rpt.
  6 ¶¶ 116-117. Both of these conclusions are wrong and, moreover, reveal the absence
  7 of a reliable methodology underlying these opinions.
  8         First, there are numerous factors other than the alleged infringement that
  9 contributed to any profits generated by Servant Episodes 1-3, such as the marketing
10 and promotion of the series and the involvement of M. Night Shyamalan. In fact,
11 there are many elements in Episodes 1-3 that Plaintiff herself cannot possibly claim
12 are infringing, including the numerous elements that Basgallop wrote long before
13 Emanuel and elements from the underlying story on which Emanuel is based
14 belonging to Sarah Thorp. See ECF No. 180-1 (SUF) ¶¶ 77-143, 202-208
15 (including Servant’s premise, main characters, setting, tone, and numerous
16 allegedly infringing scenes and dialogue). Persechini’s refusal to consider these
17 non-infringing elements demonstrates the unreliability of his opinions. See Cream
18 Records, Inc. v. Jos. Schlitz Brewing Co., 754 F.2d 826, 829 (9th Cir. 1985) (where
19 infringer’s profits are not entirely due to the infringement, some apportionment
20 must be made to avoid the “unjust course of giving the plaintiffs everything”)
21 (citation omitted).
22          Second, at his deposition, Persechini could not provide any basis for his
23 opinion that the infringing and non-infringing aspects of Episodes 1-3 are
24 inextricably intertwined other than claiming that he did not “see how you’d … get
25 through that spaghetti bowl.” Persechini Dep. at 112:5-13, 132:25-133:5; see also
26 id. at 111:21-112:3 (testifying that “any potential non-infringing elements are so
27 commingled that there’s no way to disentangle that, at least, not that I have seen”).
28 But Persechini acknowledged there is a way of separating out revenues from the

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  1 allegedly infringing and non-infringing elements, testifying “theoretically you could
  2 try to determine if there are … non-infringing factors, how those factors would
  3 generate profits.” Id. at 121:10-17; see also id. at 122:4-11 (“Theoretically,
  4 hypothetically, you would want to do some sort of analysis that – again, this high
  5 level – that looked at various elements and how those elements drove or are
  6 responsible for profits.”). He simply did not do that analysis, instead testifying that
  7 he accepted Plaintiff’s other experts’ “view of the world” that the allegedly
  8 infringing and non-infringing elements in Episodes 1-3 are “inextricably
  9 intertwined” and therefore that they are infringing in their entirety. Id. at 107:24-
10 108:11, 110:13-18, 131:25-132:10.
11          Persechini’s opinion regarding allocation is based entirely on other experts’
12 opinions, without attempting to do the analysis himself. Id. at 110:24-111:14 (“A.
13 So, again, the best way I can answer is that I’m relying on the opinions of Professor
14 Roman and Ms. Pittleman as to the fact that … that to the extent there are non-
15 infringing elements, those are inextricably linked to the infringing elements[.]”).
16 His failure to independently identify and implement his own reliable methodology
17 and justifications for his opinions renders them unreliable and unhelpful.
18    C.     Persechini’s Opinions Regarding Apple Profits Are Unreliable
19          Once copyright defendants establish their “deductible expenses,” they are
20 subtracted from the gross revenue that the plaintiff established and considered along
21 with the elements of profit attributable to factors other than the alleged
22 infringement, to arrive at profits attributable to the infringement. See 17 U.S.C.
23 § 504(b). When calculating Apple’s alleged profits related to Seasons 1-4,
24 however,
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26           Freeman Decl. Ex. 4 (“Persechini Supplemental Rpt.”), Schedule 3.1 n.b.
27 In reaching that conclusion, Persechini failed to apply the same methodology he
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  1 used to calculate Apple’s revenues. This failure makes his opinion as to Apple’s
  2 profits unreliable.
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            Generally speaking, incremental costs are “the total cost incurred due to an
26 additional unit of product being produced.”
   https://www.investopedia.com/terms/i/incrementalcost.asp.
27        3
            As explained in Defendants’ Motion for Summary Judgment, Plaintiff’s
28 contention that she is entitled to profits generated by Servant Episodes 4-40 should
   be rejected in its entirety. See ECF No. 180 at 22-23.

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  5          ; he just concludes it cannot be done and therefore fails to reliably apply his
  6 own methodology to the facts in this action. Id. at 87:17 (simply concluding that
  7 “there’s no analog for the cost”). Courts have excluded as unreliable experts who
  8 similarly inconsistently apply their own methodology. See Teradata Corp. v. SAP
  9 SE, 570 F. Supp. 3d 810, 842-843 (N.D. Cal. 2021) (expert’s application is
10 “problematic,” and “unreliable and unhelpful” where “inconsistent” with his own
11 methodology).
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19                                                                    ; see also id. at
20 90:23-25 (“[M]y expectation would be that further data could exist and then further
21 analysis could be completed.”). Here, as elsewhere, it appears that Plaintiff’s
22 desired result—maximizing potential damages—drove his methodology or, more
23 accurately, his refusal to adopt a reliable methodology that would decrease those
24 damages. In re Viagra (Sildenafil Citrate) & Cialis (Tadalafil) Prod. Liab. Litig.,
25 424 F. Supp. 3d 781, 797 (N.D. Cal. 2020) (excluding experts’ “unduly results-
26 driven” analysis).
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  2         This renders his opinions about Apple’s profits unreliable.
  3                                        CONCLUSION
  4         Persechini’s opinions on causal nexus, profit allocation, and Apple’s profits
  5 are unreliable and unhelpful and, thus, inadmissible under Rule 702. Defendants
  6 respectfully request that the Court grant this motion and exclude the corresponding
  7 expert reports and testimony of Dominic Persechini.
  8
  9 DATED: July 26, 2024                      DAVIS WRIGHT TREMAINE LLP
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10                                            CYDNEY SWOFFORD FREEMAN
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  1                         CERTIFICATE OF COMPLIANCE
  2         The undersigned, counsel of record for Defendants, certifies that this brief
  3 contains 3,571 words, which complies with the word limit of L.R. 11-6.1.
  4
  5 DATED: July 26, 2024                          /s/ Cydney Swofford Freeman
                                                      Cydney Swofford Freeman
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